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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                          x
IVAN M. BARON, Individually and on Behalf :   Civil Action No. 1:22-cv-00163
of All Others Similarly Situated,         :
                                          :   CLASS ACTION
                              Plaintiff,  :
                                          :   COMPLAINT FOR VIOLATIONS OF THE
        vs.                               :   FEDERAL SECURITIES LAWS
                                          :
TALKSPACE, INC., OREN FRANK, MARK :
HIRSCHHORN, HEC SPONSOR LLC,              :
DOUGLAS L. BRAUNSTEIN, DOUGLAS G. :
BERGERON, JONATHAN DOBRES,                :
ROBERT GREIFELD, AMY SCHULMAN, :
THELMA DUGGIN, HUDSON EXECUTIVE :
CAPITAL LP, and HEC MASTER FUND LP, :
                                          :
                              Defendants.
                                          :
                                          x   DEMAND FOR JURY TRIAL
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       Plaintiff Ivan M. Baron (“plaintiff”), individually and on behalf of all others similarly

situated, alleges the following based upon information and belief as to the investigation conducted

by Plaintiff’s counsel, which included, among other things, a review of the U.S. Securities and

Exchange Commission (“SEC”) filings by Talkspace, Inc. (“Talkspace” or the “Company”) f/k/a

Hudson Executive Investment Corporation (“HEIC”) and securities analyst reports, press releases,

and other public statements issued by, or about, the Company. 1 Plaintiff believes that substantial

additional evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                                   NATURE OF THE ACTION

       1.       This is a federal securities class action brought on behalf of all holders of Talkspace

common stock as of the record date for the special meeting of shareholders held on June 17, 2021

to consider approval of the merger between HEIC and Talkspace (the “Merger”) and entitled to

vote on the Merger (the “Class”), seeking to pursue remedies under the Securities Exchange Act

of 1934 (the “Exchange Act”) arising from the proxy statement issued in connection with the

Merger (the “Proxy”).

                                 JURISDICTION AND VENUE

       2.       The claims asserted herein arise under §§14(a) and 20(a) of the Exchange Act, 15

U.S.C. §§78n(a) and 78t(a), and SEC Rule 14a-9 promulgated thereunder, 17 C.F.R. §240.14a-9,

and 28 U.S.C. §1331. This Court has jurisdiction over the subject matter of this action under §27

of the Exchange Act, 15 U.S.C. §78aa, and 28 U.S.C. §1331, because this is a civil action arising

under the laws of the United States of America.




1
       Unless stated otherwise, all emphasis is added throughout the complaint.

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       3.       Venue is proper in this District under §27 of the Exchange Act (15 U.S.C. §78aa

and 28 U.S.C. §1391(b)-(d)). Talkspace maintains its principal executive offices in this District,

and many of the acts charged herein, including the dissemination of materially false and misleading

information, occurred in substantial part in this District.

       4.       In connection with the acts alleged in this complaint, defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, without

limitation, the U.S. mail, interstate telephone and other electronic communications, and the

facilities of the NASDAQ GS (“Nasdaq”), a national securities exchange.

                                             PARTIES

       5.       Plaintiff, as set forth in the accompanying certification incorporated by reference

herein, held Talkspace common stock as of the May 19, 2021 record date and was entitled to vote

on the Merger at the June 17, 2021 special meeting of shareholders. Plaintiff has suffered damages

due to defendants’ violations of the Exchange Act alleged herein.

       6.       Defendant Talkspace 2 is a behavioral healthcare company with headquarters in

New York, New York. Talkspace common stock and warrants are traded publicly on the Nasdaq

under the ticker symbol “TALK” and “TALKW,” respectively. Prior to the Merger, Talkspace

was named Hudson Executive Investment Corporation (“HEIC”), and its stock, warrants, and

ownership units were traded publicly on the Nasdaq under the ticker symbols “HEC,” “HECCW,”

and “HECCU,” respectively.

       7.       Defendant Oren Frank (“Frank”) co-founded Talkspace in 2012 with his wife Roni

Frank and served as its Chief Executive Officer (“CEO”) and as a director following the Merger.


2
        “Talkspace” as used herein, also refers to the business and operations of the Company.
Prior to the Merger, Talkspace was a private company but merged with and into the Company as
a result of the Merger.

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On November 15, 2021, the Company announced Frank and his wife, who was Head of Clinical

Services and a Company director at the time, were stepping down from their roles effective

immediately.

       8.       Defendant Mark Hirschhorn (“Hirschhorn”) served as President and Chief

Operating Officer of Talkspace starting in February 2020. He also served as Talkspace’s Chief

Financial Officer (“CFO”) from February 2020 until July 25, 2021. On November 22, 2021, the

Company announced Hirschhorn’s immediate resignation following an internal review of

unspecified misconduct the week prior.

       9.       Defendant HEC Sponsor LLC (“HEC Sponsor”) served as the blank check sponsor

of Talkspace.

       10.      Defendant Douglas L. Braunstein (“Braunstein”) was the co-founder, President,

and Chairman of HEIC at the time of the Merger. Braunstein was also a member of the HEC

Sponsor, a beneficial owner of shares held by the HEC Sponsor, and shared voting and investment

discretion with respect to the common stock held of record by the HEC Sponsor. After the Merger,

defendant Braunstein served as Chairman of Talkspace’s Board of Directors (the “Board”) and

was subsequently appointed interim CEO, effective November 15, 2021, upon defendant Frank’s

resignation. Braunstein also founded defendant Hudson Executive Capital LP and serves as its co-

managing partner. Significantly, Braunstein’s wife, Sam Braunstein, served as Chief Marketing

Officer of Talkspace before and after the Merger. Through his wife, Braunstein had unique access

to Talkspace’s business, operations, and prospects prior to the Merger, including the adverse facts

concealed from investors as alleged herein.

       11.      Defendant Douglas G. Bergeron (“Bergeron”) was CEO and a director of HEIC at

the time of the Merger. Bergeron was also a member of the HEC Sponsor, a beneficial owner of


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shares held by the HEC Sponsor, and shared voting and investment discretion with defendant

Braunstein with respect to the common stock held of record by the HEC Sponsor. He is also a

managing partner of Hudson Executive Capital LP.

       12.    Defendant Jonathan Dobres (“Dobres”) was the CFO of HEIC at the time of the

Merger.

       13.    Defendant Robert Greifeld (“Greifeld”) was a director of HEIC at the time of the

Merger.

       14.    Defendant Amy Schulman (“Schulman”) was a director of HEIC at the time of the

Merger.

       15.    Defendant Thelma Duggin (“Duggin”) was a director of HEIC at the time of the

Merger.

       16.    Defendant Hudson Executive Capital LP (“HEC”) is an investment advisory firm

founded by Braunstein and co-managed by Braunstein and Bergeron for the purposes of creating

special purpose acquisition companies and effectuating blank check initial public offerings and

mergers. At the time the Merger was announced, HEC managed over $1.5 billion in assets. HEC

founded HEIC and launched and controlled the HEC Sponsor for the benefit of defendants

Braunstein and Bergeron.

       17.    Defendant HEC Master Fund LP (“HEC Fund”) is an investment fund established

by HEC for the purpose of allowing HEC, Braunstein, and Bergeron to invest in and otherwise

enter into contractual relationships with HEIC for their own pecuniary interests. In connection

with the Merger, HEC Fund entered into a forward purchase agreement with HEIC, as amended

on January 12, 2021, pursuant to which HEC Fund agreed to: (1) purchase 2,500,000 Forward

Purchase Units (consisting of one share of Class A common stock and one-half of one warrant to


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purchase one share) for $10 per unit; and (2) backstop up to $25,000,000 of shareholder

redemptions by HEIC stockholders.

       18.     Defendants HEC, HEC Sponsor, HEC Fund, Braunstein, Bergeron, Dobres,

Greifeld, Schulman, and Duggin are collectively referred to herein as the “Blank Check Sponsor

Defendants.”

       19.     Defendants Frank, Hirschhorn, Braunstein, Bergeron, Dobres, Greifeld, Schulman,

and Duggin are collectively referred to herein as the “Individual Defendants.” Because of the

Individual Defendants’ management positions with respect to HEC, the HEC Sponsor, HEIC

and/or Talkspace, and relevant stock ownership, they each had authority over the information

contained in the Proxy.

                               SUBSTANTIVE ALLEGATIONS

       20.     Talkspace began as HEIC, a blank check company formed by the Blank Check

Sponsor Defendants. A blank check company is sometimes referred to as a special purpose

acquisition company – or “SPAC” – and does not initially have any operations or business of its

own. Rather, it raises money from investors in an initial public offering and then uses the proceeds

from the offering to acquire a business or operational assets, usually from a private company that

does not publicly report financial or operating results. As a result, investors in blank check

companies rely on the skill, transparency, and honesty of the blank check company’s sponsor to

spend the offering proceeds to acquire a fundamentally sound target company that offers attractive

risk-adjusted returns for investors.

       21.     Talkspace is a behavioral healthcare company that markets itself as being enabled

by a “purpose-built technology platform.” Talkspace provides individuals and licensed therapists,

psychologists, and psychiatrists with an online platform for one-on-one therapy delivered via

messaging, audio, and video. Talkspace’s platform serves two different business channels: (1)
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business-to-consumer (“B2C”), comprised of individual consumers who subscribe directly on

Talkspace’s platform; and (2) business-to-business (“B2B”), comprised of large enterprise clients

such as Google and Expedia and large health plans and employee assistance programs (collectively

“health plan clients”) such as Aetna, Cigna, Premera, Humana, and Optum, who offer their

employees and insured members access to Talkspace’s platform for free or at in-network

reimbursement rates, respectively.

       22.     On or about June 11, 2020, HEIC completed its initial public offering, selling 41.4

million ownership units (including the issuance of 5.4 million units as a result of the underwriters’

exercise of their full overallotment option) to investors at $10 per unit for gross proceeds of $414

million (the “IPO”). Each unit consisted of one share of Class A common stock and one-half of

one redeemable warrant, with each whole warrant exercisable to purchase one share of Class A

common stock at a price of $11.50 per share, subject to certain adjustments. The IPO was

sponsored by defendant HEC Sponsor, an affiliate of defendant HEC.

       23.     While HEIC did not identify any target companies at the time of the IPO, the IPO

offering materials stated that the Company intended to focus its search for an initial business

combination in two industry sectors: (1) financial services, with a focus on financial technology;

and (2) healthcare, including healthcare information technology, services, and products. The IPO

offering materials claimed that HEIC’s “management team’s direct industry expertise, operational

experience and strategic backgrounds, our relationship with Hudson Executive Capital, and our

management team’s and Hudson Executive Capital’s network of relationships and executives . . .

provide us with a competitive advantage in both of our intended industry sectors of focus.” The

IPO offering materials explained further:

              In particular, we believe we will benefit from our access to Hudson
       Executive Capital’s network of more than 30 current and former public company

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       chief executive officers and other senior executives, which we refer to as the CEO
       Network, many of whom have been members of such network since Hudson
       Executive Capital’s inception and the majority of whom are current or past leaders
       in the financial services or healthcare industries. . . . The CEO Network provides
       Hudson Executive Capital with unique idea generation, proprietary transaction
       sourcing, perspective and support during target due diligence, operating experience
       and participation in or recommendations for management and director roles, as well
       as execution resources.

       24.     The IPO offering materials listed the “Investment Criteria” HEIC would

purportedly use to evaluate target companies including:

       •       Companies with an attractive valuation with multiple drivers for future growth.

       •       Companies that have a sustainable competitive advantage within a target market as
               a result of differentiated technology, distribution capabilities, customer service, or
               other attributes that provide high barriers to entry. The target business should have
               characteristics that are difficult to replicate and have multiple areas for growth.

       •       Companies that have a highly visible revenue model, good underlying growth
               prospects, and strong operating margins leading to strong and sustainable free cash
               flow capabilities.

       •       Companies where the collective capabilities of HEIC’s management can be
               leveraged to tangibly improve the operations and create value.

       •       Companies that are small- to mid-sized businesses.

       •       Companies who understand the benefits of being public.

       25.     Pursuant to the IPO prospectus, HEIC was required to acquire a target business

with an aggregate fair market value of at least 80% of the assets held in trust within 24 months of

HEIC’s IPO. In the event HEIC did not timely complete an initial business combination, the

Company was obligated to redeem 100% of its outstanding public shares equal to the aggregate

proceeds remaining in trust, plus interest. Moreover, shareholders could redeem their shares at the

time of the initial business combination if they did not want to retain a continuing interest in the

business after the transaction. If enough shareholders redeemed their shares, a deal would not be

economically feasible.


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       26.        However, if HEIC was successful in timely completing an initial business

combination, the Blank Check Sponsor Defendants would be richly rewarded. Specifically, HEIC

had issued founder shares in connection with the IPO equal to approximately 20% of the

Company’s outstanding common shares after the IPO (including the full exercise of the

underwriter’s overallotment option).      Essentially all of these founder shares were held by

defendant HEC Sponsor. According to HEIC, these founder shares had a market value of $102.5

million as of the shareholder record date for the Merger, but would expire worthless if the

Company failed to complete its initial business combination in time. In addition, HEC Sponsor

had purchased $10.28 million worth of private placement HEIC warrants prior to the Merger,

which would be negatively impacted by a failure to consummate an initial business combination

(i.e., by rendering the warrant worthless). As a result, the Blank Check Sponsor Defendants were

highly incentivized to complete an initial business combination and to convince shareholders to

approve the Merger.

       27.        On January 13, 2021, HEIC issued a press release announcing that it had entered

into a merger agreement with Talkspace, to be funded by $414 million in cash in trust from HEIC’s

IPO, HEIC common stock, $300 million of gross proceeds from a Private Investment in Public

Equity equity transaction, a $25 million forward purchase agreement by HEC Fund to purchase

stock and warrants, and a $25 million commitment by HEC Fund to backstop redemptions. As a

result of the Merger, the owners of the pre-Merger Talkspace business were expected to own

approximately 50.8% of the common stock of the combined Company, on a fully diluted net

exercise basis.

       28.        The January 13, 2021 press release described Talkspace as a “‘purpose-built

technology company designed to meet the unmet medical needs in behavioral health by improving


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access, decreasing costs, improving outcomes, and creating value for patients, providers, and

employers.’”    The press release also highlighted Talkspace’s purportedly robust growth:

“Talkspace has seen robust user growth with approximately 46,000 active members, and more than

39 million lives covered by employer or healthcare insurance agreements.” The press release

further stated that Talkspace was on track to continue this growth for the remainder of the year,

stating: “For 2021, Talkspace’s estimated net revenue is $125 million, up approximately 69%

from 2020 estimated net revenue.”

       29.     On May 28, 2021, defendants issued the final proxy statement for the Merger which

urged shareholders to vote in favor of the deal. The Proxy contained numerous materially false

and misleading statements and omissions as detailed below.                Specifically, the Proxy

misrepresented Talkspace’s business, financials, and prospects, by omitting, inter alia, that: (a)

Talkspace was experiencing significantly increased online advertising costs in its B2C business

since the start of 2021; (b) Talkspace was experiencing lower conversion rates in its online

advertising in its B2C business; (c) Talkspace was experiencing increased customer acquisition

costs and more tepid B2C demand than represented to investors; (d) Talkspace was suffering from

ballooning customer acquisition costs and worsening growth and gross margin trends; (e)

Talkspace had overvalued its accounts receivables from certain of its health plan clients in its B2B

business, which amounts required adjustment downward; and (f) as a result of (a)-(e) above,

Talkspace’s 2021 financial guidance was not achievable and lacked any reasonable basis in fact.

     MATERIALLY FALSE AND MISLEADING STATEMENTS AND OMISSIONS
              IN THE PROXY STATEMENT FOR THE MERGER

       30.     On February 2, 2021, HEIC filed the registration statement and draft proxy for the

Merger on Form S-4 with the SEC, which after several amendments, was incorporated into a final

prospectus and proxy statement filed with the SEC, and declared effective, on May 28, 2021 (the

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“Proxy”). Defendants Braunstein, Bergeron, Dobres, Greifeld, Schulman, and Duggin signed the

Proxy; the Proxy included information about Talkspace provided by defendants Frank and

Hirschhorn; and the Blank Check Defendants reviewed, prepared, and had ultimate authority over

the contents of the Proxy.

       31.     The Proxy stated that the Board recommended shareholders vote to approve the

Merger at the special meeting of shareholders scheduled for June 17, 2021. The Proxy stated:

“After careful consideration, the [HEIC] Board has determined that the [Merger and its related

shareholder proposals] are fair to and in the best interests of [HEIC] and its stockholders and

unanimously recommends that you vote or give instruction to vote” in favor thereof.

       32.     The Proxy added:

              The [HEIC] Board considered the results of the due diligence review of
       Talkspace’s business. The [HEIC] Board also considered Talkspace’s current
       prospects for growth. For additional information, see “Proposal No. 1 – The
       Business Combination Proposal – [HEIC’s] Board of Directors’ Reasons for
       Approval of the Transactions.”

               As a result, [HEIC] believes that a business combination with Talkspace
       will provide [HEIC] stockholders with an opportunity to participate in the
       ownership of a company with significant growth potential. Please see the section
       entitled “Proposal No. 1 – The Business Combination Proposal – [HEIC’s] Board
       of Directors’ Reasons for Approval of the Transactions.”

       33.     In the section entitled “Proposal No. 1 – The Business Combination Proposal –

[HEIC’s] Board of Directors’ Reasons for Approval of the Transactions,” the Proxy explained the

Board’s rationale for recommending the Merger, noting among other reasons:

       •       Attractive Valuation. As more fully described under “Comparable
               Company Analysis,” the purchase price values Talkspace at a discount to
               selected comparable companies with respect to Talkspace’s pro forma
               implied estimated revenue (for 2021E and 2022E), estimated gross profit
               (for 2021E and 2022E), actual revenue and estimated revenue compound
               annual growth rate (from 2019A through 2023E).

       •       Reasonableness of Aggregate Consideration. Following a review of the
               financial data provided to [HEIC], including Talkspace’s historical
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               financial statements and certain unaudited prospective financial
               information, as well as [HEIC’s] due diligence review of the Talkspace
               business and the views of [HEIC’s] financial and other advisors, the
               [HEIC] Board considered the aggregate consideration to be paid and
               determined that the aggregate consideration was reasonable in light of
               such data and financial information.

       •       Business and Financial Condition and Prospects. After conducting
               extensive due diligence, along with their familiarity with Talkspace’s
               business from prior commercial experiences, the [HEIC] Board and
               [HEIC] management had knowledge of, and were familiar with,
               Talkspace’s business, financial condition, results of operations and
               future growth prospects. The [HEIC] Board considered the results of the
               due diligence review of Talkspace’s business, including its comprehensive
               and diverse data, intellectual property and network assets, its payor
               customers, its ability to enhance, extend and expand its platform, the
               potential impact of COVID-19 on its business, as well as the legal due
               diligence performed by Milbank LLP, the quality of earnings prepared by
               KPMG LLP and the financial due diligence conducted by [HEIC’s]
               management.

                                         *       *      *

       •       Talkspace’s Growing Customer Base. [HEIC] and Talkspace forecasted
               that the number of total business to customer subscribers will increase
               from 19,851 in 2019, to 31,214 in 2020, 46,259 in 2021, 71,001 in 2022
               and 85,829 in 2023. [HEIC] and Talkspace additionally forecasted that the
               number of total business to business eligible lives will increase from
               6,725,000 in 2019, to 39,285,000 in 2020, 65,341,000 in 2021, 129,093,000
               in 2022 and 174,218,000 in 2023.

                                         *       *      *

       •       Talkspace Being an Attractive Target. The [HEIC] Board considered the
               fact that Talkspace (i) is of a size relevant to the public marketplace, (ii)
               has a strong existing management team, (iii) has a significant total
               addressable market and growth expansion opportunities, (iv) provides an
               opportunity for operational improvement and (v) would benefit from the
               consummation of the Transactions as a result of becoming a public company
               and deleveraging, which the [HEIC] Board believed would improve
               Talkspace’s ability to grow, including through acquisitions.

       34.     The Proxy also noted that HEIC’s Board relied on the following forecasted

financial information for Talkspace, which was provided to HEIC by Talkspace management, and

was reiterated in the Proxy to shareholders:

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       35.     The Proxy additionally included generic risk statements about the Company’s

ability to attract new B2C customers and the advertising expenses relating to doing so. For

example, in the Proxy’s “Risk Factors” disclosures, the Proxy stated:

              Our business and the markets we operate in are new and rapidly evolving,
       which makes it difficult to evaluate our future prospects and the risks and
       challenges we may encounter.

       These risks and challenges include our ability to:

               •      attract new clients and members to our platform and position our
                      platform as a convenient and accepted way to access therapy and
                      psychiatry;

                                        *       *       *

               •      attract new and existing clients and members to rapidly adopt new
                      offerings on our platform; [and]

                                        *       *       *

               •      effectively manage our growth and business operations.

       36.     As an additional “Risk Factor,” the Proxy disclosed:

                Our future growth and profitability of our business will depend in large
       part upon the effectiveness and efficiency of our marketing efforts, and our
       ability to develop brand awareness cost-effectively.

              Our business success depends on our ability to attract and retain clients
       and members, which significantly depends on our marketing practices. Our
       future growth and profitability will depend in large part upon the effectiveness
       and efficiency of our marketing efforts, including our ability to:

               •      create greater awareness of our brand;

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               •       identify the most effective and efficient levels of spending in each
                       market, media and specific media vehicle;

               •       determine the appropriate creative messages and media mix for
                       advertising, marketing and promotional expenditures;

               •       effectively manage marketing costs (including creative and media)
                       to maintain acceptable consumer acquisition costs;

               •       select the most effective markets, media and specific vehicles in
                       which to advertise; and

               •       convert consumer inquiries into clients and members.

               We believe that developing and maintaining widespread awareness of our
       brand in a cost-effective manner is critical to achieving widespread adoption of
       our solution and attracting new clients and members. Our brand promotion
       activities may not generate consumer awareness or increase revenue, and even if
       they do, any increase in revenue may not offset the expenses we incur in building
       our brand. If we fail to successfully promote and maintain our brand, or incur
       substantial expenses in doing so, we may fail to attract or retain clients and
       members necessary to realize a sufficient return on our brand-building efforts or
       to achieve the widespread brand awareness that is critical for broad adoption of
       our brands.

       37.     Additionally, the Proxy included unaudited pro forma condensed financial

information. Included within that information, the Proxy listed, as an asset for Talkspace, accounts

receivable of $7,580,000 as of March 31, 2021.

       38.     The statements in ¶¶31-37 contained in the Proxy were materially false and

misleading when made. Specifically, the Proxy omitted and/or misrepresented the material

information set forth below in contravention of §§14(a) and 20(a) of the Exchange Act and SEC

Rule 14a-9:

               (a)     that Talkspace was experiencing significantly increased online advertising

costs in its B2C business since the beginning of 2021;

               (b)     that Talkspace was experiencing lower conversion rates in its online

advertising in its B2C business;


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               (c)     that, as a result of (a) and (b) above, Talkspace was experiencing increased

customer acquisition costs and more tepid B2C demand than represented to investors;

               (d)     that, as a result of (a)-(c) above, Talkspace was suffering from ballooning

customer acquisition costs and worsening growth and gross margin trends;

               (e)     that Talkspace had overvalued its accounts receivables from certain of its

health plan clients in its B2B business, which amounts required adjusted downward; and

               (f)     that, as a result of (a)-(e) above, Talkspace’s 2021 financial guidance was

not achievable and lacked any reasonable basis in fact.

       39.     Furthermore, with respect to the Proxy, Item 303 of SEC Regulation S-K, 17 C.F.R.

§229.303(b)(2)(ii) (“Item 303”) required defendants to “[d]escribe any known trends or

uncertainties that have had or that are reasonably likely to have a material favorable or unfavorable

impact on net sales or revenues or income from continuing operations.” Similarly, Item 105 of

SEC Regulation S-K, 17 C.F.R. §229.105 (“Item 105”), required, in the “Risk Factors” section of

registration statements and prospectuses, “a discussion of the material factors that make an

investment in the registrant or offering speculative or risky” and required each risk factor to

“adequately describe[] the risk.” The failure of the Proxy to disclose the fact that Talkspace was

suffering heightened online advertising and customer acquisition costs, lower conversion rates,

and more tepid demand in its B2C business and worsening growth and gross margin trends violated

Item 303, because these undisclosed facts were known to defendants and would (and did) have an

unfavorable impact on the Company’s sales, revenues, and income from continuing operations.

These failures also violated Item 105, because these adverse facts created significant risks that

were not disclosed even though they were some of the most significant factors that made an

investment in Talkspace securities speculative or risky.


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                           EVENTS FOLLOWING THE MERGER

       40.     On the basis of the defective Proxy, on June 17, 2021, HEIC shareholders voted to

approve the Merger at a special shareholder meeting. Following the consummation of the Merger

on June 22, 2021, HEIC changed its name to Talkspace, Inc.

       41.     On August 9, 2021, HEIC, which had been renamed Talkspace following the June

22, 2021 Merger close, issued a press release announcing the Company’s financial results for the

second quarter of 2021 (“Q2 2021”). That same day, Talkspace held a conference call to discuss

the Company’s Q2 2021 results. The call was overseen by defendants Frank and Hirschhorn. On

the call, Frank revealed some of the issues relating to increased customer acquisition costs

(sometimes referred to as “CAC”) due to rising digital advertising costs while downplaying their

impact. For example, defendant Frank stated in pertinent part as follows:

       While our B2C revenue grew substantially, we and many of our peers are
       experiencing elevated customer acquisition cost, due mainly to a material
       increase in the cost of digital advertising.

              As a result of this environment, we’re taking a number of steps which we
       believe further strengthens our business: First, we increased our advertising
       budget, which . . . we believe will ultimately increase members retention,
       engagement and satisfaction.

       42.     Defendant Hirschhorn confirmed the material increase in customer acquisition

costs since the beginning of the year, stating in pertinent part as follows:

       Adjusted EBITDA loss was $12 million in the second quarter 2021 compared to
       the loss of $300,000 in the second quarter 2020. As Oren mentioned, CAC has
       been meaningfully elevated since the beginning of the year relative to prior
       periods. The majority of the excess losses in the quarter relative to initial
       expectations can be attributed to this increase in customer acquisition cost.
       While advertising costs have dramatically increased during the first-half of this
       year, the current environment makes it more difficult to predict when customer
       acquisition costs will ultimately normalize. As such we will not be providing any
       update to guidance on EBITDA for the remainder of the year.




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       43.     Likewise, in response to an analyst question concerning the fact that the number of

active members in the B2C channel was down sequentially from the first quarter of 2021 (and thus

below expectations), Hirschhorn stated in pertinent part as follows:

               Sure. We were very deliberate this quarter, and we continue to really focus
       on the fact that there’s really punitive pricing in the market today, there is a
       tremendous price disparity in customer acquisition costs this year, as composed –
       as compared to where we were in the second quarter of 2020. The frequency of
       price increases is somewhat dramatic from Facebook, and Google and the other
       digital properties. And we are spending what we believe is appropriate to maintain
       our competitive advantage in our leading brand, but we are going to continue to
       look to, obviously, now diversify our acquisition channels through investments in
       non-traditional channels as well as looking to partner with some of the nation’s
       leading companies. I think the – it’s unlikely that we are going to see a dramatic
       shift downward in the next quarter or two, but we do believe that CAC will stabilize,
       because these are, quite frankly, levels – I’d say, elevated levels that we don’t
       believe are sustainable, nor have we ever seen increases like this since this – really
       since this, I’d say, past two to three years has and we’ve been tracking this clearly
       over the last five years.

       44.     Despite these disclosures, defendants did not reveal the full truth about Talkspace.

For example, in the August 9, 2021 press release, Talkspace reaffirmed its prior fiscal year 2021

net revenue guidance of $125 million and stated the Company’s outlook for net revenue for the

third quarter of 2021 (“Q3 2021”) was $32 million. The press release further quoted defendant

Frank discussing the Company’s Q2 2021, stating in pertinent part as follows:

       “We continued to experience broad-based momentum throughout our business
       in the second quarter, driven by significant demand tailwinds and a generational
       shift to virtual care. Our differentiated and comprehensive product portfolio
       continues to resonate in the marketplace, and we are seeing traction in both
       expanding our offering within existing clients as well as adding new clients. We
       are ideally positioned to address the vast, unmet and growing demand for mental
       health services in innovative ways, and we are excited to keep executing on our
       strategy.”

       45.     Similarly, during the August 9, 2021 conference call, defendant Frank stated, in

pertinent part, as follows:

              Our $31 million in net revenue for the second quarter was a quarterly
       record for the company and represents 73% year-over-year growth. B2C net
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       revenue for the second quarter was $21 million, up 36% year-over-year, and up
       14% sequentially. Of particular note, our B2B revenue grew 320% year-over-
       year to $10 million. And we have a robust pipeline of B2B clients in revenue
       opportunities. As a result, we are on track to meet our revenue guidance of $125
       million, growing our revenue by 64% for the fiscal year of 2021.

       46.     Then, on November 15, 2021, after the market closed, Talkspace issued a press

release announcing the Company’s financial results for Q3 2021. The press release stated in

pertinent part as follows:

       “While Net Revenue grew 23% year-over-year, driven by continued momentum in
       the B2B business, the overall financial results for the third quarter were
       disappointing. Q3 Net Revenue came in below management expectations due to a
       lower number of B2C customers and a one-time non-cash reserve adjustment for
       credit losses on receivables related to prior periods.”

       47.     The press release further stated in pertinent part as follows:

       •       Net Revenue . . . came in below expectations due to a lower number of
               acquired customers in the direct-to-consumer business and an adjustment to
               reserves, which was only partially offset by growth in the B2B Gross
               Revenue.

       •       In the third quarter we increased the allowance for credit losses on
               receivables by $3.4 million, of which $2.8 million related to prior quarters.
               Excluding the impact of this one-time non-cash adjustment, consolidated
               Revenue would have been $29.2 million, up 37% year-over-year.

       •       Direct-to-consumer Revenue was $18.6 million, a 10% year-over-year
               increase in the third quarter. The slowdown in the B2C business resulted
               in part from delays in launching new products and features, as well as a
               decline in conversion rates.

                                         *       *       *

       •       Gross profit was $14.2 million in the third quarter, compared to $15.1
               million in the prior-year quarter. Gross margin was 54% compared to
               70% a year ago. This decline was due to the increase in the reserve for
               credit losses on receivables, revenue mix shift towards B2B, and
               continued investment in W2 therapist network.

       48.     In a separate press release issued the same day, Talkspace announced that, effective

immediately, defendant Frank was stepping down from his position as CEO and as a Board


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member. Likewise, his wife Roni Frank was stepping down from her position as Head of Clinical

Services and Board member, effective that day.

           49.   Talkspace also held a conference call after the market had closed to discuss the

Company’s disappointing Q3 2021 results. The call was overseen by defendant Braunstein. In

his prepared remarks, defendant Braunstein acknowledged: “[T]he overall financial results for the

third quarter came in below expectations management shared with investors on our last earnings

call. We are obviously disappointed by this performance and we have to do better.”

           50.   Subsequent to, and due to, the closing of the Merger, the price of Talkspace

common stock declined precipitously as the truth about Talkspace and the Proxy’s false and

misleading nature were revealed over time. By December 30, 2021, the price of Talkspace

common stock was trading below $2 per share, 80% below the price shareholders would have

received if they had redeemed their shares instead of approving the Merger less than one year

earlier.

                               CLASS ACTION ALLEGATIONS

           51.   Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and (b)(3) on behalf of a Class consisting of all holders as of the May 19, 2021

record date that were entitled to vote on the Merger at the June 17, 2021 special meeting of

shareholders. Excluded from the Class are defendants and members of their immediate families,

the officers and directors of the Company, at all relevant times, and members of their immediate

families, the legal representatives, heirs, successors or assigns of any of the foregoing, and any

entity in which defendants have or had a controlling interest.

           52.   The members of the Class are so numerous that joinder of all members is

impracticable. As of the close of business on the record date, there were 51.75 million outstanding

shares of HEIC’s common stock. While the exact number of Class members is unknown to
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plaintiff at this time and can only be ascertained through appropriate discovery, plaintiff believes

that there are thousands of members in the proposed Class. Record owners and other members of

the Class may be identified from records maintained by Talkspace or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that customarily

used in securities class actions.

       53.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by defendants’ wrongful conduct in violation of federal

law that is complained of herein.

       54.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

       55.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               (a)     whether the Exchange Act was violated by defendants as alleged herein;

               (b)     whether statements made in the Proxy misrepresented material facts about

the business, operations, and prospects of Talkspace; and

               (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

       56.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.


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                                            COUNT I

                 For Violations of §14(a) of the Exchange Act and Rule 14a-9
                      Promulgated Thereunder Against All Defendants

       57.     Plaintiff incorporates by reference and realleges each and every allegation

contained above as though fully set forth herein.

       58.     This Count does not sound in fraud. Plaintiff does not allege that defendants had

scienter or fraudulent intent as they are not elements of a §14(a) claim.

       59.     SEC Rule 14a-9, 17 C.F.R. §240.14a-9, promulgated pursuant to §14(a) of the

Exchange Act, provides:

       No solicitation subject to this regulation shall be made by means of any proxy
       statement, form of proxy, notice of meeting or other communication, written or
       oral, containing any statement which, at the time and in the light of the
       circumstances under which it is made, is false or misleading with respect to any
       material fact, or which omits to state any material fact necessary in order to make
       the statements therein not false or misleading or necessary to correct any statement
       in any earlier communication with respect to the solicitation of a proxy for the same
       meeting or subject matter which has become false or misleading.

       60.     Defendants prepared and disseminated the false and misleading Proxy specified

above, which failed to disclose material facts necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading in violation of §14(a) of

the Exchange Act and Rule 14a-9 promulgated thereunder.

       61.     By virtue of their positions within HEIC, the HEC Sponsor and Talkspace and their

due diligence regarding the Merger, defendants were aware of this information and of their duty

to disclose this information in the Proxy. The Proxy was prepared, reviewed, and/or disseminated

by the defendants named herein. The Proxy misrepresented and/or omitted material facts, as

detailed above. Defendants were at least negligent in filing the Proxy with these materially false

and misleading statements.



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       62.     As stated herein, the Proxy contained untrue statements of material fact and omitted

to state material facts necessary to make the statements made not misleading in violation of §14(a)

of the Exchange Act and SEC Rule 14a-9 promulgated thereunder. The Proxy was an essential

link in the consummation of the Merger. The defendants also failed to correct the Proxy prior to

the Merger and the failure to update and correct false statements is also a violation of §14(a) of the

Exchange Act and SEC Rule 14a-9 promulgated thereunder.

       63.     As a direct result of the defendants’ negligent preparation, review and

dissemination of the false and/or misleading Proxy, plaintiff and the Class were precluded from

exercising their right to seek redemption of their HEIC shares prior to the Merger on a fully

informed basis and were induced to vote their shares and accept inadequate consideration in

connection with the Merger. The false and misleading Proxy used to obtain shareholder approval

of the Merger deprived plaintiff and the Class of their right to a fully informed shareholder vote in

connection therewith and the full and fair value for their HEIC shares. At all times relevant to the

dissemination of the materially false and/or misleading Proxy, defendants were aware of and/or

had access to the true facts concerning the true value of Talkspace, which was far below the

operational assets that shareholders received. Thus, as a direct and proximate result of the

dissemination of the false and misleading Proxy defendants used to obtain shareholder approval

of and thereby consummate the Merger, plaintiff and the Class have suffered damage and actual

economic losses in an amount to be determined at trial.

       64.     The omissions and false and misleading statements in the Proxy were material in

that a reasonable stockholder would have considered them important in deciding how to vote on

the Merger. In addition, a reasonable investor would view a full and accurate disclosure as




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significantly altering the “total mix” of information made available in the Proxy and in other

information reasonably available to stockholders.

          65.   By reason of the foregoing, defendants have violated §14(a) of the Exchange Act

and Rule 14a-9(a) promulgated thereunder.

                                             COUNT II

                    For Violation of §20(a) of the Exchange Act Against the
                     Individual Defendants, HEC, and the HEC Sponsor

          66.   Plaintiff repeats and realleges each and every allegation above as if fully set forth

herein.

          67.   Section 20(a) of the Exchange Act imposes liability on “[e]very person who,

directly or indirectly, controls any person liable under any provision of” the Exchange Act or any

of the rules promulgated thereunder. Such “controlling persons” are “liable jointly and severally

with and to the same extent as such controlled person to any person to whom such controlled

person is liable . . . , unless the controlling person acted in good faith and did not directly or

indirectly induce the act or acts constituting the violation or cause of action.”

          68.   By reason of the allegations herein, the Individual Defendants, HEC and the HEC

Sponsor violated §14(a) of the Exchange Act by issuing and publishing the Proxy, which contained

untrue statements of material fact concerning the Merger and omitted to state material facts

concerning the Merger necessary in order to make the statements made in the Proxy not

misleading.

          69.   The Blank Check Sponsor Defendants, other than defendant HEC Fund, were

controlling persons of HEIC, and defendant Frank and Hirschhorn were controlling persons of

Talkspace prior to and leading up to the Merger within the meaning of §20(a) of the Exchange

Act.

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       70.     Moreover, the Individual Defendants, by virtue of their high-level positions as

officers and/or directors of HEIC and/or Talkspace, as detailed herein, participated in the operation

and management of HEIC and/or Talkspace, and conducted and participated, directly and

indirectly, in the conduct of the business affairs HEIC and/or Talkspace, and therefore exercised

general control over the operations of HEIC and/or Talkspace. The Individual Defendants had the

power to influence and control and did influence and control, directly or indirectly, the decision-

making of HEIC and/or Talkspace, including the identification of target companies to be acquired

by HEIC, the evaluation of Talkspace, and the content and dissemination of the Proxy, which

plaintiff contends was false and misleading.

       71.     Likewise, HEC and the HEC Sponsor, as the private equity sponsor of the IPO and

the Merger, and due to their influence and control over the Board, ownership of HEIC shares and

relationships with HEIC’s management, exercised general control over the operations of the

Company and its business affairs. HEC and the HEC Sponsor, either directly or indirectly through

their affiliates, established HEIC, selected HEIC’s management and the members of the Board,

granted themselves substantial benefits in the IPO and the Merger, participated in the identification

of target companies to be acquired by HEIC, evaluated Talkspace, and influenced and controlled

the drafting of the Proxy, which plaintiff contends was false and misleading.

       72.     The defendants named herein, by virtue of their positions as owners, officers and/or

directors of HEIC and/or Talkspace, had the power or ability to control the issuance, publication

and contents of the Proxy. These defendants were each involved in negotiating, reviewing, and

approving the Merger. The Proxy purports to describe the various issues and information that the

defendants named herein reviewed and considered concerning the Merger. The defendants named




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herein had the ability to prevent the issuance of the materially misleading Proxy or to cause the

Proxy to be corrected so that it was not in violation of §14(a) of the Exchange Act.

       73.     By virtue of the foregoing, the Individual Defendants, HEC, and the HEC Sponsor

violated §20(a) of the Exchange Act, and plaintiff is entitled to relief.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for relief and judgment, as follows:

       A.      Designating plaintiff as Lead Plaintiff and declaring this action to be a class action

properly maintained pursuant to Rule 23 of the Federal Rules of Civil Procedure and plaintiff’s

counsel as Lead Counsel;

       B.      Declaring that the Proxy distributed by defendants to shareholders was materially

false and misleading, in violation of Rule 14a-9 and §14(a) of the Exchange Act;

       C.      Awarding plaintiff and other members of the Class damages together with interest

thereon;

       D.      Awarding plaintiff and other members of the Class their costs and expenses of this

litigation, including reasonable attorneys’ fees, expert fees, and other costs and disbursements; and

       E.      Awarding plaintiff and other members of the Class such other and further relief as

the Court deems just and proper under the circumstances.

                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury.

 DATED: January 7, 2022                        ROBBINS GELLER RUDMAN
                                                & DOWD LLP
                                               SAMUEL H. RUDMAN


                                                              s/ Samuel H. Rudman
                                                             SAMUEL H. RUDMAN


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                   CERTIFICATION OF NAMED PLAINTIFF
                 PURSUANT TO FEDERAL SECURITIES LAWS

      Ivan M. Baron (“Plaintiff”) declares:
      1.     Plaintiff has reviewed a complaint and authorized its filing.
      2.     Plaintiff did not acquire the security that is the subject of this action at
the direction of plaintiff’s counsel or in order to participate in this private action or
any other litigation under the federal securities laws.
      3.     Plaintiff is willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary.
      4.     Plaintiff held 1,000 shares of Talkspace, Inc. stock as of May 19, 2021
and was a holder of Talkspace, Inc. stock at all relevant times.
      5.     Plaintiff has not sought to serve or served as a representative party in a
class action that was filed under the federal securities laws within the three-year
period prior to the date of this Certification except as detailed below:
                       Baron v. HyreCar Inc., No. 2:21-cv-06918 (C.D. Cal.)

      6.     Plaintiff will not accept any payment for serving as a representative
party on behalf of the class beyond the Plaintiff’s pro rata share of any recovery,
except such reasonable costs and expenses (including lost wages) directly relating
to the representation of the class as ordered or approved by the court.
      I declare under penalty of perjury that the foregoing is true and correct.
Executed this ____ day of January, 2022.


                                                                Ivan M. Baron




                                                                                TALKSPACE
